Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
             Case 25-80002-sgj11                      Doc 1      Filed 01/11/25 Entered 01/11/25 22:04:04                              Desc Main
                                                                Document      Page 1 of 40
     Fill in this information to identify the case:

      United States Bankruptcy Court for the:

      Northern                              Texas
      ____________________ District of _________________
                                            (State)
      Case number (If known): _________________________ Chapter _____     11
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




     1.   Debtor’s name                               Prospect Medical Holdings, Inc.
                                                  ______________________________________________________________________________________________________




     2.   All other names debtor used             ______________________________________________________________________________________________________
          in the last 8 years                     ______________________________________________________________________________________________________
                                                  ______________________________________________________________________________________________________
          Include any assumed names,
                                                  ______________________________________________________________________________________________________
          trade names, and doing business
          as names                                ______________________________________________________________________________________________________




     3.   Debtor’s federal Employer                   3 3      0 5 6 4 3 7 0
                                                  ___ ___ – ___ ___ ___ ___ ___ ___ ___
          Identification Number (EIN)



     4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                              of business

                                                      3824      Hughes Avenue
                                                  ______________________________________________              _______________________________________________
                                                  Number     Street                                           Number     Street

                                                  ______________________________________________              _______________________________________________
                                                                                                              P.O. Box

                                                      Culver City                 CA         90232
                                                  ______________________________________________              _______________________________________________
                                                  City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business
                                                      Los Angeles
                                                  ______________________________________________
                                                  County                                                      _______________________________________________
                                                                                                              Number     Street

                                                                                                              _______________________________________________

                                                                                                              _______________________________________________
                                                                                                              City                      State      ZIP Code




     5.   Debtor’s website (URL)                      https://www.pmh.com
                                                  ____________________________________________________________________________________________________




    Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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             Case 25-80002-sgj11              Doc 1        Filed 01/11/25 Entered 01/11/25 22:04:04                              Desc Main
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    Debtor         Prospect Medical Holdings, Inc.
                  _______________________________________________________                      Case number (if known)_____________________________________
                  Name




     6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                            A. Check one:
     7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   2 ___
                                               6 ___
                                               ___       1
                                                     1 ___
     8.   Under which chapter of the        Check one:
          Bankruptcy Code is the
          debtor filing?                     Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                4/01/25 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                chooses to proceed under Subchapter V of Chapter 11.

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12
     9.   Were prior bankruptcy cases       
                                            ■ No

          filed by or against the debtor
          within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY


      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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             Case 25-80002-sgj11              Doc 1       Filed 01/11/25 Entered 01/11/25 22:04:04                                 Desc Main
                                                         Document      Page 3 of 40
    Debtor         Prospect Medical Holdings, Inc.
                  _______________________________________________________                      Case number (if known)_____________________________________
                  Name



     10. Are any bankruptcy cases            No
         pending or being filed by a                       See attached Rider 1
         business partner or an             
                                            ■ Yes. Debtor _____________________________________________ Relationship _________________________
         affiliate of the debtor?                     District _____________________________________________ When               __________________
         List all cases. If more than 1,                                                                                        MM / DD / YYYY
         attach a separate list.                      Case number, if known ________________________________



     11. Why is the case filed in this      Check all that apply:
         district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

     12. Does the debtor own or have         No
         possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
         property or personal property
         that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
         attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                     Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




                 Statistical and administrative information



     13. Debtor’s estimation of             Check one:
         available funds                     Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                            1,000-5,000                              25,001-50,000
     14. Estimated number of
                                             50-99                           5,001-10,000                             50,001-100,000
         creditors
                                             100-199                         10,001-25,000                            More than 100,000
                                             200-999

      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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             Case 25-80002-sgj11                 Doc 1         Filed 01/11/25 Entered 01/11/25 22:04:04                                Desc Main
                                                              Document      Page 4 of 40
    Debtor        Prospect Medical Holdings, Inc.
                 _______________________________________________________                            Case number (if known)_____________________________________
                 Name



                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                 Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of        Q    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                  petition.
         debtor
                                             Q    I have been authorized to file this petition on behalf of the debtor.

                                             Q    I have examined the information in this petition and have a reasonable belief that the information is true and
                                                  correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                                01/11/2025
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                             8    _____________________________________________                Paul Rundell
                                                                                                              _______________________________________________
                                                 Signature of authorized representative of debtor             Printed name

                                                       Chief Restructuring Officer
                                                 Title _________________________________________




     18. Signature of attorney
                                             8      /s/ Thomas R. Califano
                                                  _____________________________________________               Date        01/11/2025
                                                                                                                          _________________
                                                  Signature of attorney for debtor                                        MM    / DD / YYYY



                                                  Thomas R. Califano
                                                 _________________________________________________________________________________________________
                                                 Printed name
                                                  Sidley Austin LLP
                                                 _________________________________________________________________________________________________
                                                 Firm name
                                                 2021        McKinney Avenue, Suite 2000
                                                 _________________________________________________________________________________________________
                                                 Number     Street
                                                  Dallas
                                                 ____________________________________________________             TX
                                                                                                                 ____________  75201
                                                                                                                              ______________________________
                                                 City                                                            State        ZIP Code

                                                  (214) 981-3300
                                                 ____________________________________                             tom.califano@sidley.com
                                                                                                                 __________________________________________
                                                 Contact phone                                                   Email address



                                                  24122825
                                                 ______________________________________________________  TX
                                                                                                        ____________
                                                 Bar number                                             State




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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           Fill in this information to identify the case:

           United States Bankruptcy Court for the:
                                     Northern District of Texas
                                                 (State)                                                    ☐ Check if this is an
           Case number (if known):                                Chapter   11                                  amended filing


                                                                 Rider 1
                                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

               On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
       States Bankruptcy Court for the Northern District of Texas for relief under chapter 11 of title 11 of the United States
       Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
       chapter 11 case of Prospect Medical Holdings, Inc.

       •      Prospect Medical Holdings, Inc.

       •      Coordinated Regional Care Group, LLC

       •      Prospect East Hospital Advisory Services, LLC

       •      Prospect Hospital Holdings, LLC

       •      Prospect East Holdings, Inc.

       •      Hospital Advisory Services, Inc.

       •      Alta Hospitals System, LLC

       •      Prospect NJ, Inc.

       •      Prospect CT, Inc.

       •      Prospect Penn, LLC

       •      Prospect Home Health and Hospice, LLC

       •      Prospect Health Ventures Holdings, LLC

       •      Prospect Provider Groups, LLC

       •      Prospect Ambulatory Holding, LLC

       •      PHS Holdings, LLC

       •      Prospect Integrated Behavioral Health, Inc.

       •      Prospect ACO Holdings, LLC

       •      Nix Hospitals System, LLC

       •      Nix Community General Hospital, LLC

       •      Nix SPE, LLC

       •      Nix Physicians, Inc.
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
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       •    Nix Services, LLC

       •    Prospect Nix Home Health and Hospice, LLC

       •    Prospect CharterCARE, LLC

       •    Alta Los Angeles Hospitals, Inc.

       •    Southern California Healthcare System, Inc.

       •    Prospect Oldco NJ, Inc.

       •    Prospect Crozer, LLC

       •    Prospect ECHN Home Health, Inc.

       •    Prospect Waterbury Home Health, Inc.

       •    Prospect Crozer Home Health and Hospice, LLC

       •    Prospect Management Services, LLC

       •    Prospect Ambulatory Surgery Centers, LLC

       •    Prospect Health Services CT, Inc.

       •    Prospect Health Services RI, Inc.

       •    Prospect Health Services PA, Inc.

       •    Prospect ACO Northeast, LLC

       •    Prospect Waterbury, Inc.

       •    Healthcare Staffing on Demand, LLC

       •    Prospect CT Management Services, Inc.

       •    Prospect ECHN, Inc.

       •    Prospect Caring Hand, Inc.

       •    Prospect Provider Group RI, LLC

       •    Prospect Provider Group NJ, LLC

       •    Prospect Provider Group CT, LLC

       •    Prospect Provider Group PA, LLC

       •    Prospect Crozer Ambulatory Surgery, LLC

       •    Prospect Waterbury Ambulatory Surgery, LLC

       •    Cardiology Associates of Greater Waterbury, P.C.

       •    Prospect CharterCARE RWMC, LLC

       •    Prospect CharterCARE SJHSRI, LLC
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
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       •    Prospect CharterCARE Physicians, LLC

       •    Prospect Blackstone Valley Surgicare, LLC

       •    Prospect CCMC, LLC

       •    Prospect DCMH, LLC

       •    Prospect Crozer Urgent Care, LLC

       •    Prospect Health Access Network, Inc.

       •    Prospect Penn Health Club, LLC

       •    Prospect RI Home Health and Hospice, LLC

       •    New University Medical Group, LLC

       •    Prospect CharterCARE Home Health and Hospice, LLC

       •    Associates in Primary Care Medicine, Inc.

       •    Prospect ECHN Eldercare Services, Inc.

       •    Prospect Rockville Hospital, Inc.

       •    Prospect Manchester Hospital, Inc.

       •    Prospect CharterCARE Ancillary Services, LLC

       •    Prospect CT Medical Foundation, Inc.
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION


                                                                   )
              In re:                                               )    Chapter 11
                                                                   )
              PROSPECT HOSPITAL HOLDINGS, LLC,                     )    Case No. 25-___________(___)
                                                                   )
                                                                   )
                                       Debtor.                     )
                                                                   )

                                              LIST OF EQUITY SECURITY HOLDERS


                                                                                               Percentage of
                         Equity Holder                       Address of Equity Holder
                                                                                                Equity Held
                                                        3824 Hughes Ave., Culver City, CA
                 Prospect Medical Holdings, Inc.                                                   100%
                                                                    90232
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
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                                          IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE NORTHERN DISTRICT OF TEXAS
                                                       DALLAS DIVISION

              In re:                                               Chapter 11

              PROSPECT HOSPITAL HOLDINGS, LLC,                     Case No. 25-___________(___)

                                         Debtor.



                                                   CORPORATE OWNERSHIP STATEMENT

                     Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
            following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
            class of the debtor’s equity interest:

                               Shareholder                         Approximate Percentage of Shares Held
                       Prospect Medical Holdings, Inc.                            100%
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                  Case 25-80002-sgj11                               Doc 1         Filed 01/11/25 Entered 01/11/25 22:04:04                                                         Desc Main
                                                                                 Document     Page 10 of 40
         Fill in this information to identify the case:

         Debtor name: Prospect Medical Holdings, Inc.
         United States Bankruptcy Court for the: Northern District of Texas                                                                                                Check if this is an
         Case number (If known):                                                                                                                                            amended filing


        Official Form 204

        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
        Unsecured Claims and Are Not Insiders                                                                                                                                     12/15

        A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or
        entity who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
        creditor among the holders of the 30 largest unsecured claims.

   Name of creditor and complete mailing address,            Name, telephone number, and                  Nature of the claim       Indicate if claim   Amount of unsecured claim
   including zip code                                        email address of creditor contact            (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                          debts, bank loans,       unliquidated, or     amount. If claim is partially secured, fill in total claim
                                                                                                          professional services,   disputed             amount and deduction for value of collateral or setoff to
                                                                                                          and government                                calculate unsecured claim.
                                                                                                          contracts)
                                                                                                                                                        Total claim, if Deduction for
                                                                                                                                                        partially       value of collateral Unsecured claim
                                                                                                                                                        secured         or setoff


      Cerner Corporation                                    Attn: David Feinberg                             Trade Payable /         Contingent,
    1 2800 Rock Creek Pkwy                                  Title: Chief Executive Officer                  Promissory Note /       Unliquidated,                                                 $     129,073,715
      Kansas City, MO 64117                                 Email: david.feinberg@oracle.com                    Litigation            Disputed


        MPT Operating Partnership LP
                                                            Attn: Edward K. Aldag, Jr.
        1000 Urban Center Drive                                                                          Trade Payable / Lease
    2                                                       Title: President & Chief Executive Officer                                                                                            $      60,803,495
        Suite 501                                                                                             Obligations
                                                            Email: ealdag@medicalpropertiestrust.com
        Birmingham, AL 35242


        California Dept. of Health Care Services            Attn: John Birkmeyer, MD
        1700 K Street                                       Title: President                                 Hospital Quality
    3                                                                                                                                                                                             $      43,915,976
        Unit 4                                              Email: john.birkmeyer@soundphysicians.com    Assurance Fee Program
        Sacramento, CA 95811                                Phone: (916) 636-1980


                                                            Attn: Chiquita Brooks-LaSure
      Center for Medicare & Medicaid Services
                                                            Title: Administrator                                                     Contingent,
    4 7500 Security Blvd.                                                                                    MAAPP Loans                                                                          $      41,990,154
                                                            Email: chiquita.brooks-lasure@hhs.gov                                    Unliquidated
      Baltimore, MD 21244
                                                            Phone: (410) 786-3000


                                                            Attn: Alex Liberman
      Medline Industries Inc
                                                            Title: Chief Legal Officer                      Trade Payable /
    5 Three Lakes Drive                                                                                                              Unliquidated                                                 $      28,600,705
                                                            Email: aliberman@medline.com                    Promissory Note
      Northfield, IL 60093
                                                            Phone: (847) 615-8083


      Compass Group                                         Attn: Bobby Kutteh
    6 2400 Yorkmont Road                                    Title: Chief Executive Officer                   Trade Payable                                                                        $      12,849,596
      Charlotte, NC 28217                                   Email: bobby.kutteh@compass-usa.com


                                                            Attn: Kevin Lobo
      Stryker
                                                            Title: Chief Executive Officer
    7 1941 Stryker Way                                                                                       Trade Payable                                                                        $      12,131,718
                                                            Email: kevin.lobo@stryker.com
      Portage, MI 49002
                                                            Phone: (269) 385-2600


        R4 Solutions                                        Attn: Amit Bhardwaj
        10080 N. Wolfe Rd.                                  Title: Chief Executive Officer
    8                                                                                                        Trade Payable                                                                        $      11,175,706
        SW3 200                                             Email: amit.b@r4solutionsinc.com
        Cupertino, CA 95014                                 Phone: (415) 869-5779


        Expedient VMS LLC                                   Attn: Jack Madha
        26500 Agoura Road                                   Title: Chief Executive Officer
    9                                                                                                        Trade Payable                                                                        $       9,907,710
        #102-365                                            Email: jmadha@ernservices.com
        Calabasas, CA 91302                                 Phone: (213) 855-3939


        Aya Healthcare Inc                                  Attn: Alan Braynin
        5930 Cornerstone Court West                         Title: Chief Executive Officer
   10                                                                                                        Trade Payable                                                                        $       5,934,066
        Suite 300                                           Email: abraynin@ayahealthcare.com
        San Diego, CA 92121                                 Phone: (858) 369-0576


      Allscripts Healthcare LLC                             Attn: Tejal Vakharia
   11 222 W. Merchandise Mart Plaza                         Title: General Counsel                           Trade Payable                                                                        $       5,389,632
      Chicago, IL 60654                                     Email: tejal.vakharia@allscripts.com



      Microsoft Corporation                                 Attn: Hossein Nowbar
   12 1 Microsoft Way                                       Title: Chief Legal Officer                       Trade Payable                                                                        $       4,801,985
      Redmond, WA 98052                                     Email: hosseinn@microsoft.com
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
                  Case 25-80002-sgj11                          Doc 1          Filed 01/11/25 Entered 01/11/25 22:04:04                                                       Desc Main
                                                                             Document     Page 11 of 40
   Name of creditor and complete mailing address,       Name, telephone number, and                 Nature of the claim       Indicate if claim   Amount of unsecured claim
   including zip code                                   email address of creditor contact           (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                    debts, bank loans,       unliquidated, or     amount. If claim is partially secured, fill in total claim
                                                                                                    professional services,   disputed             amount and deduction for value of collateral or setoff to
                                                                                                    and government                                calculate unsecured claim.
                                                                                                    contracts)
                                                                                                                                                  Total claim, if Deduction for
                                                                                                                                                  partially       value of collateral Unsecured claim
                                                                                                                                                  secured         or setoff

      State of California Emergency Medical Services
                                                       Attn: Elizabeth Basnett
      Authority
                                                       Title: Director
   13 11120 International Drive                                                                         Trade Payable                                                                       $        4,538,868
                                                       Email: director@emsa.ca.gov
      2nd Floor
                                                       Phone: (916) 322-4336
      Rancho Cordova, CA 95670

        General Healthcare Resources, LLC              Attn: John Quirk
        1 Valley Square                                Title: Chief Executive Officer
   14                                                                                                   Trade Payable                                                                       $        3,190,955
        Suite 200                                      Email: jquirk@ghresources.com
        Blue Bell, PA 19422                            Phone: (214) 888-2430


        Sheppard Mullin Richter & Hampton LLP          Attn: Polly Towill
        350 South Grand Ave.                           Title: Partner
   15                                                                                                   Trade Payable                                                                       $        3,155,885
        40th Floor                                     Email: ptowill@sheppardmullin.com
        Los Angeles, CA 90071                          Phone: (213) 617-5480


      Optum, Inc.                                      Attn: Heather Cianfrocco
   16 11000 Optum Circle                               Title: Chief Executive Officer                   Trade Payable                                                                       $        3,114,307
      Eden Prairie, MN 55344                           Email: heather.cianfrocco@optum.com


                                                       Attn: Michele Lau
      McKesson
                                                       Title: Chief Legal Officer
   17 6555 State Hwy 161                                                                                Trade Payable                                                                       $        3,008,700
                                                       Email: michele.lau@mckesson.com
      Irving, TX 75039
                                                       Phone: (972) 446-4800


        ArganoNorthPoint                               Attn: Chip Register
        6100 W. Plano Parkway                          Title: Chief Executive Officer
   18                                                                                                   Trade Payable                                                                       $        2,899,255
        Suite 1800                                     Email: chip.register@argano.com
        Plano, TX 75093                                Phone: (925) 944-5066


      Johnson & Johnson                                Attn: Elizabeth Forminard
   19 1 Johnson & Johnson Plaza                        Title: General Counsel                           Trade Payable                                                                       $        2,856,994
      New Brunswick, NJ 08933                          Email: eforminard@jnj.com


                                                       Attn: Kevin Smith
      Legacy ECHN, Inc.
                                                       Title: Partner
   20 71 Haynes Street                                                                              Medicare Related Costs                                                                  $        2,777,627
                                                       Email: ksmith@wiggin.com
      Manchester, CT 06040
                                                       Phone: (203) 498-4579


        Wizpro Inc
                                                       Attn: Ekta Sharma
        5900 South Lake Forest Drive
   21                                                  Title: Vice President                            Trade Payable                                                                       $        2,672,626
        Suite 300
                                                       Phone: (210) 212-1141
        McKinney, TX 75070

        FinThrive Inc
                                                       Attn: Hemant Goel
        7950 Legacy Drive
   22                                                  Title: President & Chief Executive Officer       Trade Payable                                                                       $        2,657,018
        Suite 900
                                                       Email: ceohemantgoel@finthrive.com
        Plano, TX 75024


        Sound Physicians                               Attn: Jeff Alter
        1498 Pacific Avenue                            Title: Chief Executive Officer
   23                                                                                                   Trade Payable                                                                       $        2,429,959
        Suite 500                                      Email: jeff.alter@soundphysicians.com
        Tacoma, WA 98402                               Phone: (855) 768-6363


        EPM
                                                       Attn: Gavin O'Reilly
        30900 Rancho Viejo Road
   24                                                  Title: Chief Solutions Officer                   Trade Payable                                                                       $        2,361,642
        Suite 150
                                                       Email: gavin.oreilly@goepm.com
        San Juan Capistrano, CA 92675


        Bella Vista Medical Group, Inc.
                                                       Attn: Vijay Dhawan
        15301 Ventura Blvd.                                                                         Capitation Agreement
   25                                                  Title: President                                                                                                                     $        2,330,609
        Building D #200                                                                                      Fees
                                                       Phone: (217) 700-0390
        Sherman Oaks, CA 91403


                                                       Attn: Karen Morris
      Pension Benefit Guaranty Corporation
                                                       Title: General Counsel                                                  Contingent,
   26 445 12th Street SW                                                                              Union Obligations                                                                         Undetermined
                                                       Email: karen.morris@pbgc.gov                                            Unliquidated
      Washington, DC 20024-2101
                                                       Phone: (202) 326-4000


      Internal Revenue Service
                                                       Attn: Centeralized Insolvency Operation       CARES Act Deferred
   27 300 N. Los Angeles St.                                                                                                                                                                    Undetermined
                                                       Phone: (213) 576-3140                          FICA Tax Liabilities
      Los Angeles, CA 90012


      State of Connecticut, Department of Revenue
                                                       Attn: Mark D. Boughton
      Services                                                                                                                 Contingent,
                                                       Title: Commissioner
   28 450 Columbus Blvd.                                                                                Provider Taxes        Unliquidated,                                                     Undetermined
                                                       Email: mark.boughton@ct.gov
      Suite 1                                                                                                                   Disputed
                                                       Phone: (860) 297-5962
      Hartford, CT 06103
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
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   Name of creditor and complete mailing address,    Name, telephone number, and                 Nature of the claim       Indicate if claim   Amount of unsecured claim
   including zip code                                email address of creditor contact           (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                 debts, bank loans,       unliquidated, or     amount. If claim is partially secured, fill in total claim
                                                                                                 professional services,   disputed             amount and deduction for value of collateral or setoff to
                                                                                                 and government                                calculate unsecured claim.
                                                                                                 contracts)
                                                                                                                                               Total claim, if Deduction for
                                                                                                                                               partially       value of collateral Unsecured claim
                                                                                                                                               secured         or setoff


      Change Healthcare, Inc.                       Attn: Neil de Crescenzo
                                                                                                 Receivable Advances /      Contingent,
   29 2771 Momentum Place                           Title: President & Chief Executive Officer                                                                                             Undetermined
                                                                                                    Trade Payable           Unliquidated
      Chicago, IL 60689-5327                        Email: ndecrescenzo@changehealthcare.com



      L.A. Care Health Plan                         Attn: Augustavia Haydel                          Hospital Quality
                                                                                                                            Contingent,
   30 1200 W. 7th Street                            Title: General Counsel                       Assurance Fee Program                                                                     Undetermined
                                                                                                                            Unliquidated
      Los Angeles, CA 90017                         Email: ahaydel@lacare.org                           Advance
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                      PROSPECT MEDICAL HOLDINGS, INC.

                COORDINATED REGIONAL CARE GROUP, LLC

            PROSPECT EAST HOSPITAL ADVISORY SERVICES, LLC

                      PROSPECT HOSPITAL HOLDINGS, LLC

                        PROSPECT EAST HOLDINGS, INC.

                      HOSPITAL ADVISORY SERVICES, INC.

                        ALTA HOSPITALS SYSTEM, LLC

                                 PROSPECT NJ, INC.

                                PROSPECT CT, INC.

                               PROSPECT PENN, LLC

                PROSPECT HOME HEALTH AND HOSPICE, LLC

               PROSPECT HEALTH VENTURES HOLDINGS, LLC

                      PROSPECT PROVIDER GROUPS, LLC

                  PROSPECT AMBULATORY HOLDING, LLC

                                PHS HOLDINGS, LLC

            PROSPECT INTEGRATED BEHAVIORAL HEALTH, INC.

                        PROSPECT ACO HOLDINGS, LLC

                         NIX HOSPITALS SYSTEM, LLC

                 NIX COMMUNITY GENERAL HOSPITAL, LLC

                                    NIX SPE, LLC

                               NIX PHYSICIANS, INC.

                                NIX SERVICES, LLC

              PROSPECT NIX HOME HEALTH AND HOSPICE, LLC

                        PROSPECT CHARTERCARE, LLC

                      ALTA LOS ANGELES HOSPITALS, INC.
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            SOUTHERN CALIFORNIA HEALTHCARE SYSTEM, INC.

                           PROSPECT OLDCO NJ, INC.

                               PROSPECT CROZER, LLC

                      PROSPECT ECHN HOME HEALTH, INC.

                PROSPECT WATERBURY HOME HEALTH, INC.

           PROSPECT CROZER HOME HEALTH AND HOSPICE, LLC

                  PROSPECT MANAGEMENT SERVICES, LLC

             PROSPECT AMBULATORY SURGERY CENTERS, LLC

                      PROSPECT HEALTH SERVICES CT, INC.

                      PROSPECT HEALTH SERVICES RI, INC.

                      PROSPECT HEALTH SERVICES PA, INC.

                        PROSPECT ACO NORTHEAST, LLC

                          PROSPECT WATERBURY, INC.

                 HEALTHCARE STAFFING ON DEMAND, LLC

                PROSPECT CT MANAGEMENT SERVICES, INC.

                                PROSPECT ECHN, INC.

                         PROSPECT CARING HAND, INC.

                      PROSPECT PROVIDER GROUP RI, LLC

                      PROSPECT PROVIDER GROUP NJ, LLC

                      PROSPECT PROVIDER GROUP CT, LLC

                      PROSPECT PROVIDER GROUP PA, LLC

              PROSPECT CROZER AMBULATORY SURGERY, LLC

           PROSPECT WATERBURY AMBULATORY SURGERY, LLC

         CARDIOLOGY ASSOCIATES OF GREATER WATERBURY, P.C.

                      PROSPECT CHARTERCARE RWMC, LLC
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                       PROSPECT CHARTERCARE SJHSRI, LLC

                   PROSPECT CHARTERCARE PHYSICIANS, LLC

               PROSPECT BLACKSTONE VALLEY SURGICARE, LLC

                                  PROSPECT CCMC, LLC

                                  PROSPECT DCMH, LLC

                      PROSPECT CROZER URGENT CARE, LLC

                    PROSPECT HEALTH ACCESS NETWORK, INC.

                         PROSPECT PENN HEALTH CLUB, LLC

                 PROSPECT RI HOME HEALTH AND HOSPICE, LLC

                      NEW UNIVERSITY MEDICAL GROUP, LLC

           PROSPECT CHARTERCARE HOME HEALTH AND HOSPICE, LLC

                 ASSOCIATES IN PRIMARY CARE MEDICINE, INC.

                   PROSPECT ECHN ELDERCARE SERVICES, INC.

                       PROSPECT ROCKVILLE HOSPITAL, INC.

                      PROSPECT MANCHESTER HOSPITAL, INC.

             PROSPECT CHARTERCARE ANCILLARY SERVICES, LLC

                    PROSPECT CT MEDICAL FOUNDATION, INC.

                                       January 11, 2025

I, Frank Saidara, Secretary of each entity set forth on Schedule I attached hereto
(the “Companies”), do hereby certify the following:

      1.      I am the duly qualified and appointed Secretary of each of the Companies.

      2.      Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
              (the “Resolutions”) duly adopted by the respective boards of directors, boards of
              managers, sole members, managers or the managing members, as applicable (each,
              a “Governing Body”) of each Company acting pursuant to its respective bylaws or
              limited liability company agreement (as amended, amended and restated, modified,
              supplemented, or replaced from time to time, the “Governing Documents”).

      3.      The Resolutions are not inconsistent with the Governing Documents.
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      4.    The Resolutions have not been amended, modified, repealed, or rescinded since
            adopted, and are in full force and effect on and as of the date hereof.

                                [Signature page follows]
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        IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date
first written above.




                                          By:
                                          Name: Frank Saidara
                                          Title: Secretary
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                                     EXHIBIT A
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                    OMNIBUS WRITTEN CONSENT
              OF THE BOARD OF DIRECTORS, MANAGERS,
           MEMBERS, OR OTHER SIMILAR GOVERNING BODY,
      AS APPLICABLE, OF PROSPECT MEDICAL HOLDINGS, INC. AND
 EACH OF THE COMPANIES SET FORTH ON SCHEDULE I ATTACHED HERETO

                                          January 11, 2025

        THE UNDERSIGNED, being all, or a majority, of the members of the board of managers
(as applicable), all the members of the board of directors, the sole manager or the sole member, as
(each, a “Governing Body” and collectively, the “Governing Bodies”) of each entity set forth on
Schedule I attached hereto (each, a “Company” and, collectively, the “Companies”) do hereby
consent to, adopt and approve by written consent the following resolutions and each and every
action effected thereby with the same force and effect as if they had been adopted at duly convened
meetings of the Governing Bodies, and direct that this written consent be filed with the minutes of
the proceedings of the relevant Governing Body:

         WHEREAS, each Governing Body has considered certain materials presented by, or on
behalf of, each Company’s management (“Management”) and financial and legal advisors
(collectively, the “Advisors”), including, but not limited to, materials regarding the liabilities,
obligations, and liquidity of the Companies, the strategic alternatives available to the Companies,
and the impact of the foregoing on each Company’s business and the business of each Company’s
affiliates;

        WHEREAS, each Governing Body has reviewed and considered presentations by
Management and the Advisors of each Company regarding the advantages and disadvantages of
filing a voluntary petition for relief (the “Bankruptcy Petition”) for each Company pursuant to
chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
the “Bankruptcy Code”);

        WHEREAS, each Governing Body has had adequate opportunity to consult with its
Management and the Advisors regarding the materials presented, to obtain additional information,
and to fully consider each of the strategic alternatives available to each Company; and

        WHEREAS, each Governing Body has determined, in the judgment of each Governing
Body, that the following resolutions are advisable and in the best interests of each Company, its
interest holders, its subsidiaries, its creditors, and other parties in interest.

Voluntary Petition for Relief under Applicable Bankruptcy Law and Seeking Necessary Relief

        NOW, THEREFORE, BE IT RESOLVED, that each Governing Body has considered its
fiduciary duties under applicable law in exercising their powers and discharging its duties, to act
honestly and in good faith with a view to the best interests of each Company as a whole, and to
exercise the care, diligence, and skill that a reasonably prudent person would exercise in
comparable circumstances;

        RESOLVED FURTHER, that in the judgment of each Governing Body, it is desirable and
in the best interests of such Company, its interest holders, its subsidiaries, its creditors, and other
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parties in interest that the Company shall be, and hereby is, in all respects authorized to file, or
cause to be filed, the Bankruptcy Petition for the Company under the provisions of chapter 11 of
the Bankruptcy Code in the United States Bankruptcy Court for the Northern District of Texas
(the “Bankruptcy Court”) or other court of competent jurisdiction, and any other petition for relief
or recognition or other order that may be desirable under applicable law in the United States, and,
in accordance with the requirements of the Company’s governing documents and applicable law,
hereby consents to, authorizes, and approves, the filing of the Bankruptcy Petition; and

         RESOLVED FURTHER, that any director or duly appointed officer of each Company,
each acting individually and with full power of substitution (together with any persons to whom
such persons delegate certain responsibilities, collectively, the “Authorized Persons”) be, and
hereby is, authorized to execute and file on behalf of the Company and its subsidiaries all petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that such
Authorized Person deems necessary or proper to obtain such relief, including, but not limited to,
any action necessary or proper to maintain the ordinary course operations of such Company or any
of its subsidiaries;

Retention of Professionals

        RESOLVED FURTHER, that each of the Authorized Persons, acting individually and with
full power of substitution, be, and hereby is, authorized, empowered and directed to employ the
following professionals on behalf of each Company: (1) the law firm of Sidley Austin LLP, as
general bankruptcy counsel; (2) the firm of Alvarez & Marsal North America, LLC (“A&M”), as
financial advisor; (3) Houlihan Lokey, Inc., as investment banker; (4) Omni Agent Solutions, Inc.,
as claims, noticing, and solicitation agent; and (5) and any other legal counsel, accountants,
financial advisors, restructuring advisors, or other professionals such Authorized Person deems
necessary, appropriate, or advisable; each to represent and assist such Company in carrying out its
duties and responsibilities and exercising its rights under the Bankruptcy Code and any applicable
law (including, but not limited to, the law firms filing any pleadings or responses) and to take any
and all actions to advance the rights and obligations of each Company, including filing any
motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
Authorized Persons be, and hereby is authorized, empowered, and directed, in accordance with the
terms and conditions hereof, to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain such services;

Appointment of Chief Restructuring Officer

       RESOLVED FURTHER, that Mr. Paul Rundell, be and hereby is, appointed the Chief
Restructuring Officer of the Companies, as of the date hereof, in accordance with the terms and
conditions of the engagement letter entered into between Prospect Medical Holdings, Inc. and
A&M, which terms and conditions shall be and are hereby incorporated by reference;

         RESOLVED FURTHER, that Mr. Paul Rundell, be and hereby is, authorized to execute
and file on behalf of the Companies all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all action that Mr. Rundell deems necessary or proper to obtain
relief for the Companies, including, but not limited to, any action necessary or proper to maintain
the ordinary course operations of the Companies, and shall be deemed to have such other powers

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as any Authorized Person is delegated by the governing bodies of the Companies pursuant to these
resolutions pertaining to the voluntary petition for relief under chapter 11 of title 11 of the United
State Code and other applicable bankruptcy or non-bankruptcy law;

Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

        RESOLVED FURTHER, that each Company will obtain benefits, as necessary or
convenient to the conduct, promotion, maintenance, and attainment of the business of each
Company, from (1) the use of collateral, including cash collateral, as that term is defined in section
363(a) of the Bankruptcy Code (the “Cash Collateral”), to the extent applicable, which is security
for prepetition secured lenders and their respective agents (collectively, the “Secured Parties”), if
any, and (2) the incurrence of a $100 million priming, senior secured superpriority debtor-in-
possession term loan facility on the terms set forth in that certain debtor-in-possession financing
term sheet (the “DIP Term Sheet”), by and among the Companies, as the borrower, and JMB
Capital Partners Lending, LLC and/or its designees or its assignees, as the lender from time to time
party thereto, which shall include a new money term loan facility in the aggregate amount of $100
million (the “DIP Facility”);

        RESOLVED FURTHER, that in order to use and obtain the benefits of the DIP Facility
and any Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, each
Company will grant and allow perfection of certain liens and other security interests in favor of
and for the benefit of the Secured Parties (the “Adequate Protection Obligations”), as documented
in a proposed interim order (the “DIP Order”) to be filed with the Bankruptcy Court;

        RESOLVED FURTHER, that the form, terms, and provisions of the DIP Facility be, and
hereby are, in all respects approved on the terms and conditions substantially similar to those set
forth in the form of DIP Documents (as defined below) previously provided and/or described to
the Governing Bodies, and each Company is authorized and empowered to (a) enter into the DIP
Facility, subject to approval by the Bankruptcy Court, and (b) seek entry of the DIP Order and any
other such order authorizing entry into, and consummation of, the DIP Facility and the DIP
Documents (as defined below);

        RESOLVED FURTHER, that the form, terms, and provisions of the DIP Order to which
each Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and each of the Authorized Persons of each
Company be, and hereby is, authorized, directed, and empowered, in the name of and on behalf of
each Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of (a) the DIP Order and the DIP Facility,
(b) such other agreements, certificates, instruments, notices, receipts, recordings, filings, petitions,
motions, or other papers or documents to which each Company is or will be a party, including, but
not limited to, any security and pledge agreement or guaranty agreement (collectively, with the
DIP Order and the DIP Facility, the “DIP Documents”), and (c) any amendments or modifications
to the DIP Documents (with such changes, modifications, additions, deletions, and amendments
thereto as any Authorized Person in his or her sole discretion shall deem required, necessary,
appropriate, desirable or advisable), the approval of which shall be conclusively established by the



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execution and delivery thereof;

       RESOLVED FURTHER, that each Company, as debtor and debtor in possession under the
Bankruptcy Code, upon filing of the Bankruptcy Petitions, be, and hereby is, authorized to incur
the Adequate Protection Obligations and to undertake any and all related transactions on
substantially the same terms as contemplated under the DIP Documents (collectively, the “DIP
Transactions”), including the guaranty of the obligations thereunder and the granting of liens on
substantially all of its assets to secure such obligations;

         RESOLVED FURTHER, that each of the Authorized Persons of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company
to file or to authorize the agents under the DIP Facility (the “DIP Agents”) to file any Uniform
Commercial Code (“UCC”) financing statements, any other equivalent filings, any intellectual
property filings and recordation, and any necessary assignments for security or other documents
in the name of each Company that the DIP Agents deems necessary or appropriate to perfect any
lien or security interest granted under the DIP Order, including any such UCC financing statement
containing a generic description of collateral, such as “all assets,” “all property now or hereafter
acquired,” and other similar descriptions of like import, and to execute and deliver, and to record
or authorize the recording of, such mortgages and deeds of trust in respect of real property of each
Company and such other filings in respect of intellectual and other property of each Company, in
each case as the DIP Agents may reasonably request to perfect the security interests of the DIP
Agents under the DIP Order;

        RESOLVED FURTHER, that each of the Authorized Persons of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company
to take all such further actions, including, without limitation, to pay or approve the payment of all
fees and expenses payable in connection with the DIP Transactions and all fees and expenses
incurred by or on behalf of each Company in connection with the foregoing resolutions, in
accordance with the terms of the DIP Documents, which shall in their sole judgment be necessary,
proper, or advisable to perform each Company’s obligations under or in connection with the DIP
Order or any of the other DIP Documents and the transactions contemplated therein and to carry
out fully the intent of the foregoing resolutions;

Approval of Asset Purchase Agreement and Authorization of Additional Sale Processes

        RESOLVED FURTHER, that in the judgment of each Governing Body, it is desirable and
in the best interests of each Company, its interest holders, its subsidiaries, its creditors, and other
parties in interest that certain of the Companies be, and hereby are, authorized to enter into that
certain Asset Purchase Agreement (the “RI Purchase Agreement”) with Centurion Foundation,
Inc. and the other buyers listed therein (collectively, the “Buyer”), pursuant to which, among other
things, such Companies will sell, transfer, assign, convey and deliver substantially all of the assets
relating to the Roger Williams Medical Center and Our Lady of Fatima Medical Center in Rhode
Island to the Buyer, upon the terms and subject to the conditions set forth in the RI Purchase
Agreement, and (ii) negotiate, execute, and enter into, all required documentation to consummate
such sale transaction (the “RI Sale Transaction”);

       RESOLVED FURTHER, that each Company, with the assistance of its Advisors, is

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authorized to conduct a fulsome marketing and sale process, including contacting, discussing,
negotiating, and soliciting offers from potential bidders, including conducting any auction (if any)
in connection therewith, in order to receive the highest or otherwise best offer for the potential sale
of the Companies’ remaining assets (collectively, the “Additional Sale Processes”);

         RESOLVED FURTHER, that in the judgment of each Governing Body, it is desirable and
in the best interests of each Company, its interest holders, its subsidiaries, its creditors, and other
parties in interest that each Company be, and hereby is, authorized to negotiate, execute, and enter
into, all required documentation to consummate sale transactions related to the Additional Sales
Processes (together with the RI Sale Transaction, collectively, the “Sale Transactions”) (including
any asset purchase agreements or any other agreements or documents evidencing any such sale
(together with the RI Purchase Agreement, collectively, the “Purchase Agreements”)), with such
changes, additions, and modifications thereto as an Authorized Person shall approve;

        RESOLVED FURTHER, that the Company shall be, and hereby is, and the Authorized
Persons shall be, and each of them, acting alone, hereby is, in the name and on behalf of the
Company, authorized, directed and empowered to seek entry of an order or orders authorizing
entry into any Purchase Agreements and consummation of the Sale Transactions contemplated
thereby, all substantially in accordance with documents that have been presented or will be
presented to the Governing Bodies and/or filed with the Bankruptcy Court, subject to such
modifications thereto as the Governing Bodies or Management may deem necessary or advisable
(the approval of which to be conclusively established by the execution thereof by an Authorized
Person);

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is, authorized
and empowered to take any and all actions necessary or advisable to advance each Company’s
rights and obligations under any Purchase Agreement and/or the Sale Process, including filing of
additional pleadings with the Bankruptcy Court; and in connection therewith, each Authorized
Person, with power of delegation, is hereby authorized and directed to take all necessary actions
in furtherance of the foregoing resolutions;

        RESOLVED FURTHER, each Governing Body hereby authorizes, adopts, approves,
ratifies and confirms the Sale Transactions and each Company’s entry into the Purchase
Agreements, and each of the documents and agreements contemplated under any Purchase
Agreement (the “Transaction Documents”) to which the Company is a party, and the performance
of the Company’s obligations thereunder and (subject to the approval of the Bankruptcy Court)
the consummation of the Sale Transactions contemplated thereby;

        RESOLVED FURTHER, that each Authorized Person hereby is authorized and
empowered to execute and deliver any Purchase Agreements, any Transaction Documents and any
and all certificates, agreements, instruments, documents and undertakings of any kind and nature
contemplated thereunder to which each Company is to be a party or as are necessary or appropriate
to consummate the Sale Transactions contemplated by any Purchase Agreements and the
Transaction Documents, in the name and on behalf of each Company, with such additions,
deletions or changes therein (including, without limitation, any additions, deletions or changes to
any schedules or exhibits thereto) as the Authorized Person executing the same shall approve (the
execution and delivery thereof by the Authorized Person to be conclusive evidence of such

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Authorized Person’s approval of any such additions, deletions or changes); and

       RESOLVED FURTHER, in addition to the specific authorizations heretofore conferred
upon the Authorized Persons, the Authorized Persons, either individually or as otherwise required
by each Company’s Governing Documents and applicable law, be, and each of them hereby is,
authorized to execute (under hand or under the common seal of the Company if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents on behalf of the Company relating to
any Purchase Agreements and the Transaction Documents;

Further Actions and Prior Actions

        RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as otherwise
required by each Company’s governing documents and applicable law, be, and each of them
hereby is, authorized to execute (under hand or under the common seal of each Company if
appropriate), acknowledge, deliver, and file any and all agreements, certificates, instruments,
powers of attorney, letters, forms, transfer, deeds and other documents on behalf of each Company
relating to the matters authorized herein;

        RESOLVED FURTHER, that each of the Authorized Persons, each acting individually and
with full power of substitution be, and hereby is, authorized, empowered, and directed to execute
and file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to
perform such further actions and execute such further documentation that such Authorized Person
in their absolute discretion deems necessary, appropriate, or desirable in accordance with these
resolutions;

        RESOLVED FURTHER, that, in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as otherwise
required by each Company’s governing documents and applicable law, be, and each of them
hereby is, authorized to take any and all such other and further actions, and to do all such other
deeds and other things as each Company itself may lawfully do, in accordance with its Governing
Documents and applicable law, including but not limited to, the negotiation, finalization,
execution, acknowledgement, delivery, and filing of any and all agreements, certificates,
instruments, powers of attorney, letters, forms, transfer, deeds, and other documents on behalf of
each Company, and the payment of all expenses, including but not limited to filing fees, in each
case as such Authorized Person’s or Authorized Persons’ may, in his/her/its/their absolute and
unfettered discretion approve, deem or determine necessary, appropriate, advisable, or desirable
in order to fully carry out the intent and accomplish the purposes of the resolutions adopted herein;
such approval, deeming, or determination to be conclusively evidenced by said individual taking
such action or the execution thereof;

        RESOLVED FURTHER, that each Governing Body has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of each Company, or hereby waives any right to have
received such notice; and


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         RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
ratified as the true acts and deeds of each Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of each Governing Body.

                                   [Signature Pages to Follow]




                                                 7
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IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
first set forth above. This unanimous written consent may be signed by facsimile or other electronic
means, with any such signature being of the same force and effect as an original signature, and in
multiple counterparts, all of which will constitute one document.

                                                     Board of Directors

                                                     PROSPECT MEDICAL HOLDINGS,
                                                     INC.


                                                     Samuel S. Lee



                                                     David Topper



                                                     Mitchell Lew, M.D.



                                                     Von Crockett



                                                     Alan Carr



                                                     Jeremy Rosenthal
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                                                     As Member

                                                     COORDINATED REGIONAL CARE
                                                     GROUP, LLC

                                                     PROSPECT EAST HOSPITAL
                                                     ADVISORY SERVICES, LLC

                                                     PROSPECT HOSPITAL HOLDINGS,
                                                     LLC

                                                     PROSPECT PENN, LLC

                                                     PROSPECT HOME HEALTH AND
                                                     HOSPICE, LLC

                                                     PROSPECT HEALTH VENTURES
                                                     HOLDINGS, LLC

                                                     PROSPECT PROVIDER GROUPS, LLC

                                                     PROSPECT AMBULATORY
                                                     HOLDING, LLC

                                                     PHS HOLDINGS, LLC

                                                     PROSPECT ACO HOLDINGS, LLC

                                                     NIX HOSPITALS SYSTEM, LLC

                                                     NIX COMMUNITY GENERAL
                                                     HOSPITAL, LLC

                                                     NIX SPE, LLC



                                                     Von Crockett
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                                                     As Member

                                                     NIX PHYSICIANS, INC.

                                                     PROSPECT NIX HOME HEALTH AND
                                                     HOSPICE, LLC

                                                     PROSPECT CHARTERCARE, LLC

                                                     PROSPECT CROZER, LLC

                                                     PROSPECT CROZER HOME HEALTH
                                                     AND HOSPICE, LLC

                                                     PROSPECT MANAGEMENT
                                                     SERVICES, LLC

                                                     PROSPECT AMBULATORY
                                                     SURGERY CENTERS, LLC

                                                     HEALTHCARE STAFFING ON
                                                     DEMAND, LLC

                                                     PROSPECT PROVIDER GROUP RI,
                                                     LLC

                                                     PROSPECT PROVIDER GROUP CT,
                                                     LLC

                                                     PROSPECT PROVIDER GROUP PA,
                                                     LLC

                                                     PROSPECT PROVIDER GROUP NJ,
                                                     LLC



                                                     Von Crockett
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                                                     As Member

                                                     PROSPECT CROZER AMBULATORY
                                                     SURGERY, LLC

                                                     PROSPECT WATERBURY
                                                     AMBULATORY SURGERY, LLC

                                                     CARDIOLOGY ASSOCIATES OF
                                                     GREATER WATERBURY, P.C.

                                                     PROSPECT CHARTERCARE RWMC,
                                                     LLC

                                                     PROSPECT CHARTERCARE SJHSRI,
                                                     LLC

                                                     PROSPECT CHARTERCARE
                                                     PHYSICIANS, LLC

                                                     PROSPECT BLACKSTONE VALLEY
                                                     SURGICARE, LLC

                                                     PROSPECT CCMC, LLC

                                                     PROSPECT DCMH, LLC

                                                     PROSPECT CROZER URGENT CARE,
                                                     LLC

                                                     PROSPECT PENN HEALTH CLUB,
                                                     LLC

                                                     PROSPECT RI HOME HEALTH AND
                                                     HOSPICE, LLC



                                                     Von Crockett
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                                                     As Member

                                                     NEW UNIVERSITY MEDICAL
                                                     GROUP, LLC

                                                     PROSPECT CHARTERCARE HOME
                                                     HEALTH AND HOSPICE, LLC

                                                     PROSPECT ACO NORTHEAST, LLC

                                                     PROSPECT CHARTERCARE
                                                     ANCILLARY SERVICES, LLC

                                                     PROSPECT CT MEDICAL
                                                     FOUNDATION, INC.

                                                     ASSOCIATES IN PRIMARY CARE
                                                     MEDICINE, INC



                                                     Von Crockett
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                                                     As Boards of Directors

                                                     PROSPECT EAST HOLDINGS, INC.

                                                     PROSPECT NJ, INC.

                                                     PROSPECT CT, INC.

                                                     ALTA LOS ANGELES HOSPITALS,
                                                     INC.

                                                     PROSPECT INTEGRATED
                                                     BEHAVIORAL HEALTH, INC.

                                                     SOUTHERN CALIFORNIA
                                                     HEALTHCARE SYSTEM, INC.

                                                     PROSPECT ECHN HOME HEALTH,
                                                     INC.

                                                     PROSPECT WATERBURY HOME
                                                     HEALTH, INC.

                                                     PROSPECT HEALTH SERVICES CT,
                                                     INC.

                                                     PROSPECT HEALTH SERVICES RI,
                                                     INC.

                                                     PROSPECT HEALTH SERVICES PA,
                                                     INC.



                                                     Von Crockett



                                                     David Topper
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                                                     As Boards of Directors

                                                     PROSPECT CT MANAGEMENT
                                                     SERVICES, INC.

                                                     PROSPECT ECHN, INC.

                                                     PROSPECT CARING HAND, INC.

                                                     PROSPECT HEALTH ACCESS
                                                     NETWORK, INC.

                                                     PROSPECT ROCKVILLE HOSPITAL,
                                                     INC.

                                                     PROSPECT MANCHESTER
                                                     HOSPITAL, INC.

                                                     PROSPECT ECHN ELDERCARE
                                                     SERVICES, INC.

                                                     PROSPECT OLDCO NJ, INC



                                                     Von Crockett



                                                     David Topper
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                                                     As Boards of Manager

                                                     ALTA HOSPITALS SYSTEM, LLC


                                                     Von Crockett


                                                     David Topper
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                                                     Board of Directors

                                                     PROSPECT WATERBURY, INC.


                                                     Samuel S. Lee



                                                     David Topper
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                                                     Board of Directors

                                                     HOSPITAL ADVISORY SERVICES,
                                                     INC.


                                                     Samuel S. Lee
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                                                     Manager

                                                     NIX SERVICES, LLC


                                                     Samuel S. Lee


                                                     Member

                                                     NIX SERVICES, LLC


                                                     Von Crockett
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                                                 SCHEDULE I

 Entity Name
 Coordinated Regional Care Group, LLC

 Prospect East Hospital Advisory Services, LLC
 Prospect Hospital Holdings, LLC

 Prospect East Holdings, Inc.

 Hospital Advisory Services, Inc.
 Alta Hospitals System, LLC

 Prospect NJ, Inc.

 Prospect CT, Inc.

 Prospect Penn, LLC

 Prospect Home Health and Hospice, LLC

 Prospect Health Ventures Holdings, LLC
 Prospect Provider Groups, LLC

 Prospect Ambulatory Holding, LLC

 PHS Holdings, LLC
 Prospect Integrated Behavioral Health, Inc.

 Prospect ACO Holdings, LLC

 Nix Hospitals System, LLC
 Nix Community General Hospital, LLC

 Nix SPE, LLC

 Nix Physicians, Inc.

 Nix Services, LLC

 Prospect Nix Home Health and Hospice, LLC

 Prospect CharterCARE, LLC

 Alta Los Angeles Hospitals, Inc.

 Southern California Healthcare System, Inc.

 Prospect Oldco NJ, Inc.

 Prospect Crozer, LLC

 Prospect ECHN Home Health, Inc.

 Prospect Waterbury Home Health, Inc.
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 Prospect Crozer Home Health and Hospice, LLC

 Prospect Management Services, LLC

 Prospect Ambulatory Surgery Centers, LLC
 Prospect Health Services CT, Inc.

 Prospect Health Services RI, Inc.

 Prospect Health Services PA, Inc.
 Prospect ACO Northeast, LLC

 Prospect Waterbury, Inc.

 Healthcare Staffing on Demand, LLC

 Prospect CT Management Services, Inc.

 Prospect ECHN, Inc.

 Prospect Caring Hand, Inc.
 Prospect Provider Group RI, LLC

 Prospect Provider Group NJ, LLC

 Prospect Provider Group CT, LLC
 Prospect Provider Group PA, LLC

 Prospect Crozer Ambulatory Surgery, LLC

 Prospect Waterbury Ambulatory Surgery, LLC

 Cardiology Associates of Greater Waterbury, P.C.

 Prospect CharterCARE RWMC, LLC
 Prospect CharterCARE SJHSRI, LLC

 Prospect CharterCARE Physicians, LLC

 Prospect Blackstone Valley Surgicare, LLC
 Prospect CCMC, LLC

 Prospect DCMH, LLC

 Prospect Crozer Urgent Care, LLC

 Prospect Health Access Network, Inc.

 Prospect Penn Health Club, LLC

 Prospect RI Home Health and Hospice, LLC
 New University Medical Group, LLC

 Prospect CharterCARE Home Health and Hospice, LLC

 Associates in Primary Care Medicine, Inc.
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 Prospect ECHN Eldercare Services, Inc.

 Prospect Rockville Hospital, Inc.

 Prospect Manchester Hospital, Inc.
 Prospect CharterCARE Ancillary Services, LLC

 Prospect CT Medical Foundation, Inc.
Docusign Envelope ID: D9BB1639-9EF2-4E5F-A20B-483C65A2E9F9
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     Fill in this information to identify the case and this filing:


     Debtor   Name Prospect   Medical Holdings, Inc.
                    _________________________________________________               United     States

                                         Northern
     Bankruptcy Court for the: ______________________ District of __________ Texas
                                                                                     (State)
     Case number (If known):    _________________________




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                 Declaration and signature



              I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
              another individual serving as a representative of the debtor in this case.

              I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule ____
              ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              
              ✔ Other document that requires a declaration______________________________________________________________________________
                                                          List of Equity Security Holders and Corporate Ownership
                                                                 6WDWHPHQW


              I declare under penalty of perjury that the foregoing is true and correct.


                           01/11/2025
              Executed on ______________                         8/s/
                                                                    _________
                                                                       _                       ________________________________________________________
                               MM / DD / YYYY                         Signature of individual signing on behalf of debtor



                                                                      Paul Rundell
                                                                      ________________________________________________________________________
                                                                      Printed name

                                                                      Chief Restructuring Officer
                                                                      ______________________________________
                                                                      Position or relationship to debtor



    Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
